

People v Jackson (2021 NY Slip Op 06106)





People v Jackson


2021 NY Slip Op 06106


Decided on November 09, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 09, 2021

Before: Renwick, J.P., Singh, Kennedy, Rodriguez, Pitt, JJ. 


Ind. No. 919/17 Appeal No. 14596 Case No. 2018-03077 

[*1]The People of the State of New York, Respondent, 
vLevon Jackson, Defendant-Appellant.


Caprice Jenerson, Office of The Appellate Defender, New York (Tyler Good-Cohn of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (R. Jeannie Campbell-Urban of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Ellen N. Biben, J.), rendered February 01, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 9, 2021
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








